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   8                            UNITED STATES DISTRICT COURT
   9                          CENTRAL DISTRICT OF CALIFORNIA
  10
  11   State Farm Life Insurance Company,          Case No. 5:13-cv-00197-JAK (SPx)
  12             Plaintiff,                        JUDGMENT
  13   v.
  14   Marsha Esswein; Karen Lynn Esswein
  15   Flore; The Esswein Family Trust,
       Dated 10/25/84; and The Estate of
  16   Richard Esswein,

  17             Defendants in Interpleader.

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               Based on a review of the Stipulation for Judgment (the “Stipulation” (Dkt.
  19
       119)) filed by Defendants in Interpleader Marsha Esswein and Karen Lynn Esswein
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       Flore, judgment is entered as follows:
  21
            1. Judgment is entered in favor of Defendant in Interpleader Karen Lynn
  22
               Esswein Flore.
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            2. The Clerk of the Court shall disburse the funds deposited with the Court by
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               Plaintiff State Farm Life Insurance Company in the amount of $181,919.65
  25
               and all subsequently accrued interest, to Karen Lynn Esswein Flore, by check
  26
               made payable to the Client Trust Account of Douglas W. Gastélum and
  27
               delivered to Mr. Gastélum at 1374 South Mission Road, Suite 505,
  28
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   1         Fallbrook, California, 92028. The check shall be delivered with a copy of the
   2         calculations used to determine the amount and by means that includes a
   3         tracking method and information.
   4      3. Karen Lynn Esswein Flore shall recover the court costs she has incurred and
   5         is ordered to submit a Bill of Costs within 20 days of entry of this Judgment.
   6         In light of the foregoing, Defendant in Interpleader Karen Lynn Esswein

   7   Flore’s Motion and Application to Lift Stay (Dkt. 115) and Motion for Judgment

   8   (Dkt. 116) are MOOT. All dates and deadlines in this action are vacated, and the

   9   action is DISMISSED.

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             IT IS SO ORDERED.
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  12
       Dated: September 25, 2020       __________________________________
  13                                   John A. Kronstadt
  14                                   United States District Judge

  15   cc: Fiscal
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